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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF TEXAS

 PHAMELLA AKI YASHIRO,

 MICHAEL COLACO HWANG JUNIOR,                         Case No. 3:22-cv-636

      Plaintiffs,

 v.

 UNITED STATES CITIZENSHIP AND
 IMMIGRATION SERVICES, et al.


      Defendants.



                      NOTICE OF VOLUNTARY DISMISSAL
           PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 41(a)(1)(A)(i)

          Since the filing of this lawsuit, Defendants have finally adjudicated the long-pending

applications of the Plaintiffs Phamella Aki Yashiro and Michael Colaco Hwang Junior. As such,

the present lawsuit is now moot.

          Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiffs Phamella Aki Yashiro and Michael

Colaco Hwang Junior hereby voluntarily dismiss the instant action with prejudice. Each side to

bear their own fees and costs.



                                                                      /s/ James O. Hacking, III
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on May 19, 2022, the foregoing Notice of Voluntary Dismissal was

filed electronically with the Clerk of the Court to be served by operation of the Court’s electronic

filing system.



                                              /s/ James. O. Hacking, III
                                              James O. Hacking, III, MO Bar # 46728
                                              Hacking Immigration Law, LLC
